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                EXHIBIT
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                         CASE NOS. 22-15569, 22-15638


                                    IN THE

          United States Court of Appeals
                         FOR THE NINTH CIRCUIT


               G.P.P. INC. D/B/A GUARDIAN INNOVATIVE SOLUTIONS,
                                Plaintiff-Appellant,
                                       V.

                     GUARDIAN PROTECTION PRODUCTS, INC.,
                            Defendant-Appellee,
                       RPM WOOD FINISHES GROUP, INC.,
                               Defendant.
                             _____________

             ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF CALIFORNIA
                       CASE NO. 1:15-CV-00321-SKO
      THE HONORABLE SHEILA K. OBERTO, UNITED STATES MAGISTRATE JUDGE

                   BRIEF FOR PLAINTIFF-APPELLANT

                  WILSON SONSINI GOODRICH & ROSATI
                         Professional Corporation

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      Case: 22-15569, 09/12/2022, ID: 12538194, DktEntry: 15, Page 15 of 89
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effect to the portions in favor of the losing party (Guardian), while discarding the

portions in favor of the winning party (GIS).

      These errors (and more) created a counterfactual environment that severely

prejudiced GIS and poisoned the entire trial. The second jury was instructed that

GIS was a malefactor that “breached” the parties’ agreements and principles of good

faith and fair dealing – when in fact, Guardian was found to have acted with unclean

hands. These errors signaled to the jury that even if Guardian technically breached

the agreements by terminating them on account of non-existent per-territory quotas,

GIS was fundamentally in the wrong, and thus not entitled to fair compensation for

Guardian’s misconduct. While GIS was able to prevail on liability on some (but not

all) of its breach of contract claims, the jury was so predisposed against GIS that it

awarded only a fraction of the damages. GIS brings this appeal to reverse these

errors and obtain a new trial on damages.

                       STATEMENT OF JURISDICTION

      A)     The district court had subject matter jurisdiction under 28 U.S.C.

§ 1332 because the parties are diverse and the amount in controversy exceeds

$75,000. Jurisdiction was also proper because this action arises out of written

agreements deemed executed in California with forum-selection clauses identifying

the district court as a proper venue. E.g., 6-ER-1193 at 1200 ¶ 19.




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